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 8                                   UNITED STATES DISTRICT COURT
 9                  CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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     HOWARD L. ABSELET,                             Case No. 2:11-CV-00815 JFW (JEMx)
12                                                  [Related Cases: 2:15-CV-7625 JFW
                                                    (JEMx); 2:15-CV-8570 JFW (JEMx)]
13                      Plaintiff,
              vs.                    [AMENDED PROPOSED] ORDER
14                                   APPROVING RECEIVER'S FINAL
   ALLIANCE LENDING GROUP, INC., ACCOUNTING AND REPORT
15 a California corporation; et al.,
                                     Courtroom: 7A of the Hon. John F. Walter
16                                              350 W. 1st Street
                Defendants.                     Los Angeles, CA 90012
17
                                                    Hearing: June 11, 2018
18                                                           1:30 p.m.
19

20            Upon consideration of the Motion for an Order Approving Receiver's Final
21 Accounting and Report (the "Motion"), the Court having considered the pleadings

22 and all supporting documents, and good cause appearing therefore, IT IS HEREBY

23 ORDERED, ADJUDGED, AND DECREED that:

24            1.        The Motion, in all respects, is hereby approved.
25            2.        The Receiver's Final Accounting and Report is hereby approved. The
26 Receiver is hereby authorized to pay itself and all other expenses of the Receivership
27 Estate, including any professional fees and expenses and brokerage commissions,

28 as provided in the Receiver's Final Accounting and Report.


       [AMENDED PROPOSED] ORDER APPROVING RECEIVER'S FINAL ACCOUNTING AND REPORT
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 1            3.        Colonial Security is hereby barred from making any claims against
 2 anyone with respect to services that it rendered to the Receiver and/or the

 3 Receivership Estate. Any other unpaid bills or obligations attributable to the

 4 Receivership Estate that are received or discovered after the termination of the

 5 Receivership Estate shall be the responsibility of Encino Corporate Plaza, L.P. All

 6 claims of the Receiver related to the Receivership Estate are hereby assigned to

 7 Encino Corporate Plaza, L.P.

 8            4.        All of the actions of the Receiver and any employee, property
 9 management company, broker, attorney, agent or representative employed or
10 engaged by the Receiver or its affiliated companies (together, the "Receiver Parties")

11 undertaken during the Receiver's administration of the Receivership Estate, are

12 hereby approved as being right and proper and in the best interest of the

13 Receivership Estate and the parties to this action.

14            5.        Upon the entry of this Order and the payment of any outstanding
15 obligations of the Receivership Estate, Receiver is hereby ordered to remit to the

16 Encino Corporate Plaza, L.P. the surplus funds held by the Receiver for the

17 Receivership Estate, currently estimated to be $107,911.04.

18            6.        The Receiver and the Receiver Parties are hereby authorized to
19 abandon and/or destroy any and all business records relating to the Receivership

20 Estate, including those such records that are backed up on an electronic server

21 relating to the Receivership Estate that are in their possession or in custody, if not

22 claimed by a party, in writing, addressed to the Receiver within sixty (60) days after

23 the entry of this Order. Any party claiming such records must make such request

24 within ten (10) days after the entry of this Order and pay for all costs associated

25 with such document production and delivery.

26            7.        Neither the Receiver nor the Receiver Parties shall be held liable in any
27 manner for any outstanding obligations, debts or liabilities of the Receivership

28 Estate,         whether known or unknown, including without limitation any

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       [AMENDED PROPOSED] ORDER APPROVING RECEIVER'S FINAL ACCOUNTING AND REPORT
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 1 environmental claims, any claims related to the sale of the assets of the Receivership

 2 Estate or any claims for negligence or willful misconduct. Neither the Receiver nor

 3 the Receiver Parties shall be liable to any person or entity, including Colonial

 4 Security or any taxing authorities.

 5            8.        All parties to the above-caption action shall be forever barred from
 6 bringing any claim or action against the Receiver and the Receiver Parties directly

 7 or indirectly related to the Receiver's acts or omissions in the above-captioned

 8 action, including without limitation, the Receiver's efforts to sell the Property, the

 9 Receiver's accounting for the Property and any tax filings filed in connection
10 therewith.

11            9.        The Receiver and the Receiver Parties are hereby discharged from their
12 official and administrative duties, the Receiver's bond and sureties, the Receiver

13 Parties, and each of them, are fully exonerated from all liability as provided by law.

14            10.       This Court reserves exclusive jurisdiction over any claim or claims
15 asserted against the Receiver or the Receiver Parties for their respective services

16 herein and all issues that were part of the subject matter of the Receivership Estate

17 and this Order or that have arisen or may arise therefrom.

18            11.       This Order is effective as of the date hereof and notice of performance
19 of any of the foregoing orders is not required to make this Order effective.

20

21 IT IS SO ORDERED

22

23 Dated: ___________, 2018                              __________________________________
24                                                       Honorable John F. Walter
                                                         United States District Court Judge
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       [AMENDED PROPOSED] ORDER APPROVING RECEIVER'S FINAL ACCOUNTING AND REPORT
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